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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 WESTERN DISTRICT OF OKLAHOMA

ANTONIO DEWAYNE HOOKS,                       )
                                             )
                          Plaintiff,         )
                                             )      CIV-17-658-M
                                             )
BETHANY POLICE DEPARTMENT,                   )
et. al.,                                     )
                                             )
                          Defendants.        )

          SUPPLEMENTAL REPORT AND RECOMMENDATION

      Plaintiff, a state prisoner appearing pro se and in forma pauperis, brings

this civil rights action under 42 U.S.C. § 1983. The matter has been referred to

the undersigned Magistrate Judge for initial proceedings consistent with 28 U.S.C.

§ 636(b)(1)(B).

I. Background

      Plaintiff’s claims initially arise out of his arrest by Defendants Chris

Harding and James Irby, each of whom are officers with the Bethany Police

Department. Doc. #86, Second Amended Complaint (“Am. Comp.”) at 13-14.

Plaintiff was subsequently charged with two counts of Assault & Battery Upon a

Police or Other Law Officer, Possession of a Controlled Dangerous Substance

With Intent to Distribute, and Possession of a Controlled Dangerous Substance

Within 2,000 Feet of a Park – Cocaine. Oklahoma Supreme Court Network, Okla.
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Cnty. Dist. Ct. Case No. CF-16-8283.1 On October 23, 2017, Plaintiff entered a

plea of nolo contendere to each of these charges. Id.2 Plaintiff was sentenced to

incarceration of four years with credit for time served. Id.

       Prior to his sentencing, Plaintiff was booked into the Oklahoma County Jail

on October 1, 2016, as a pre-trial detainee. Am. Comp. at 16, 19. Plaintiff

contends that when he was booked into the jail, he had a swollen face and stitches

in his eye brow. Am. Comp. at 19. He states that he passed by two nursing

stations and contends it was obvious he needed to be placed in 13B or 13D in

medical status. Id.

       He further alleges that on October 5, 2016, a classification guard moved

him from 4D classification to 4A, which is a segregated pod for rival gang

members. Am. Comp. at 18. Plaintiff contends the initial booking guard on

October 1, 2016, and the classification guard who moved him on October 5, 2016,

failed to follow policy and procedure by not inquiring as to his gang affiliation or

as to whether he needed to be housed with his gang. Am. Comp. at 16, 18. He

also claims the jail staff overlooked their own records of his gang affiliation and




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8283&cmid=3460519
       2
        At some point, Plaintiff’s third charge was amended to Possession of Controlled
Dangerous Substance. Id.
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photographs of his gang tattoos. Am. Comp. at 19. He contends this resulted in

his being housed with rival gang members who subsequently committed an assault

on Plaintiff and he nearly lost his life. Am. Comp. at 14, 17, 18, 20. As referenced

in Plaintiff’s Second Amended Complaint and verified by state records, three

individuals were charged with Assault & Battery by Means or Force as is Likely

to Cause Death and Conspiracy to Commit a Felony, to Wit: Assault & Battery

by Means or Force Likely to Cause Death. See Oklahoma Supreme Court

Network, Okla. Cnty. Dist. Ct. Case No. CF-16-8322;3 see also Doc. #88 at 11-

12; Doc. #89 at 5-6 (wherein Defendants Oklahoma County Sheriff John Whetsel

and Kayode Atoki describe in separate Motions to Dismiss the alleged assault

perpetrated on Plaintiff by three other pre-trial detainees, each of whom are named

as defendants in CF-16-8322).

        Following this assault, Plaintiff was transferred to OU Medical Center

where he was treated for his injuries. Am. Comp. at 12-13. When he returned to

the Oklahoma County Jail, his jaw was wired shut. Id. In early November 2016,

Defendant Jerry Childs, D.O. examined Plaintiff and attempted to “twist[] the

wires back together” causing one of the screws to later fall out. Am. Comp. at 12.



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8322.

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Plaintiff subsequently returned to OU Medical Center where he was seen by a

plastic surgeon. Am. Comp. at 13.

      By this action, Plaintiff asserts claims of excessive force against

Defendants Harding and Irby. Am. Comp. at 13-14. Plaintiff asserts claims of

deliberate indifference against Defendant Sheriff Whetsel based on the booking

guards’ failure to classify Plaintiff as a specific gang member and house him

accordingly. Am. Comp. at 16-20. Plaintiff asserts a failure to protect claim

against Sheriff Whetsel and Defendant Atoki, whom he identifies as the “4th floor

unit manager.” Am. Comp. at 16-17. With regard to Dr. Childs and Armor Health

Correctional Services, Inc. (“Armor”), Plaintiff asserts claims of deliberate

indifference. Am. Comp. at 12-13, 19-20.

II. Screening of Prisoner Complaints

      A federal district court must review complaints filed by prisoners seeking

relief against a governmental entity or an officer or employee of a governmental

entity. 28 U.S.C. § 1915A(a). The same screening of a civil complaint filed in

forma pauperis is required by 28 U.S.C. § 1915(e)(2). After conducting an initial

review, a court must dismiss a complaint or any portion of it presenting claims

that are frivolous, malicious, fail to state a claim upon which relief may be




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granted, or seek monetary relief from a defendant who is immune from such relief.

28 U.S.C. §§ 1915A(b), 1915(e)(2)(B).

      In conducting this review, the reviewing court must accept the plaintiff's

allegations as true and construe them, and any reasonable inferences to be drawn

from the allegations, in the light most favorable to the plaintiff. Kay v. Bemis,

500 F.3d 1214, 1217 (10th Cir. 2007). Although a pro se litigant’s pleadings are

liberally construed, Haines v. Kerner, 404 U.S. 519, 520 (1972), “[t]he burden is

on the plaintiff to frame a ‘complaint with enough factual matter (taken as true)

to suggest’ that he or she is entitled to relief.” Robbins v. Oklahoma, 519 F.3d

1242, 1247–1248 (10th Cir. 2008) (quoting Bell Atlantic Corp. v. Twombly, 550

U.S. 544, 556 (2007)). The allegations in a complaint must present “enough facts

to state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570.

Further, a claim is frivolous “where it lacks an arguable basis either in law or in

fact” or is “based on an indisputably meritless legal theory.” Neitzke v. Williams,

490 U.S. 319, 325, 327 (1989).

III. Sheriff Whetsel

      Plaintiff asserts claims of deliberate indifference against Sheriff Whetsel in

relation to Plaintiff’s classification and placement within the Oklahoma County

Jail. Plaintiff complains that unknown jail staff failed to follow proper jail policies

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and procedures when booking him into the Oklahoma County Jail. Am. Comp. at

16-20. In support, Plaintiff states the following:

      Deliberate indifference The booking guard ? that finger printed me
      10-1-16 about 2:30 AM didn’t follow policy and procedure and ask
      me my gang affiliation, or did I need to be house with my gang
      everytime I have been housed with my gang from the booking guard
      asking these questions. This time they didn’t ask or take notice to
      their own records of my gang affiliation.

      The gangs were segregated from each other in the jail due to high
      level of violence. and retaliation from incidents that happened on the
      streets. Sheriff John Whetsel was very much aware of the gang
      problems he had in Okla. County jail that the reason the jail was
      segregated. Mr. Whetsel Job to insure staff is following policy and
      procedure!

Am. Comp. at 16-17.         Plaintiff makes similar allegations regarding the

classification guard who moved him on October 5, 2016. Am. Comp. at 18-19.

      Plaintiff also asserts a deliberate indifference claim against Sheriff Whetsel

based on the allegations supporting the same claim against Defendant Atoki.

Specifically, Plaintiff alleges Defendant Atoki failed to protect Plaintiff when he

was being assaulted by other inmates. In support, Plaintiff states the following:

      failure to protect 10-5-16 Kayode Atoki was working outside of his
      Job detail! At the time of my incident CF-16-8322 Mr. Atoki was 4
      floor unit manager, but he was working as pod officer none contact
      guard this day. Before my attack started I noticed Mr. Atoki was
      paying attention to the computer, and not over seeing the pod like
      the pod officer was suppose to be doing! When this Attack started
      I was knocked out. I don’t How aware Mr. Atoki when this attack
      started. This happen right in front of the pod office right in Mr. Atoki
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      line of sight if he would have been doing the duties of a pod officer.
      They say the individual involved in my attack left and took his shoes
      off came back with sandals on and continued stomping my face.

      This incident CF-16-8322 happened right in front of pod office in
      Mr. Atoki line of sight. To much damage was done multiple broken
      bones in my face (life support) massive reconstructive surgery. Mr.
      Atoki ranked up Sgt after this incident Mr. Atoki was move to 8th
      floor was I was located after this Complaint was filed.

Am. Comp. at 14-15.

      Personal participation is necessary for individual liability under Section

1983. See Bennett v. Passic, 545 F.2d 1260, 1262-63 (10th Cir. 1976) (“Personal

participation is an essential allegation in a § 1983 claim.”). Plaintiff does not

allege Sheriff Whetsel personally participated in any of the actions or events

underlying his claims. Instead, with regard to his booking and classification,

Plaintiff merely states that Sheriff Whetsel was aware of the jail’s policies and

procedures, was aware of gang violence in general that occurred in the jail, and

that it was Sheriff Whetsel’s job to make sure staff followed policies and

procedures. Am. Comp. at 17. Thus, Plaintiff’s allegations against Sheriff

Whetsel are not based on the Sheriff’s own actions but solely on his supervisory

status. Although a supervisor may be held liable if he is affirmatively linked to

the constitutional violation, “Section 1983 does not authorize liability under a

theory of respondeat superior.” Brown v. Montoya, 662 F.3d 1152, 1164 (10th

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Cir. 2011). As a result, government officials have no vicarious liability in a §1983

suit for the misconduct of their subordinates because “there is no concept of strict

supervisor liability under section 1983.” Jenkins v. Wood, 81 F.3d 988, 994 (10th

Cir. 1996) (quotations omitted).

      Instead, a supervisor is liable only if he is “personally involved in the

constitutional violation, and a sufficient causal connection [] exist[s] between the

supervisor and the constitutional violation.” Serna v. Colo. Dep’t of Corr., 455

F.3d 1146, 1151 (10th Cir. 2006) (quotations omitted); see also Schneider v.

Grand Junction Police Dep’t, 717 F.3d 760, 767 (10th Cir. 2013) (requiring a

plaintiff to show an “affirmative link” between the supervisor and the

constitutional violation). Thus, Plaintiff must base supervisory liability “‘upon

active unconstitutional behavior’ and ‘more than a mere right to control

employees.’” Davis v. Okla. Cnty., No. CIV–08–0550–HE, 2009 WL 2901180,

at *4 (W.D. Okla. Sept. 3, 2009) (quoting Serna, 455 F.3d at 1153).

      Plaintiff’s allegations are wholly insufficient to establish supervisory

liability against Sheriff Whetsel. Plaintiff fails to allege any affirmative link

between Sheriff Whetsel and Plaintiff’s classification. He does not indicate

Sheriff Whetsel was aware of Plaintiff’s classification or the jail staff’s alleged

failure to follow procedure. Nor does he allege Sheriff Whetsel was in any way

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involved in Plaintiff’s classification or in determining where Plaintiff was housed.

      With regard to claims based upon Plaintiff’s assault, Plaintiff does not set

forth any factual allegations that would reasonably support an inference that

Sheriff Whetsel was aware Plaintiff faced a particular risk of harm at the hands of

other inmates or was present when the assault occurred. Accordingly, it is

recommended the individual capacity claims against Defendant Whetsel be

dismissed for failure to adequately allege personal participation. Trujillo v.

Williams, 465 F.3d 1210, 1227–28 (10th Cir. 2006) (upholding dismissal of

Section 1983 claims because the complaint did not indicate personal participation

by the named defendants).

IV. Dr. Childs and Armor

      A. Medical Care

      Plaintiff’s Second Amended Complaint includes claims of deliberate

indifference against Defendants Armor and Dr. Childs, pursuant to 42 U.S.C.

§1983. These claims are based upon Dr. Childs’ medical treatment of Plaintiff.

“A prison official’s deliberate indifference to an inmate’s serious medical needs

is a violation of the Eighth Amendment’s prohibition against cruel and unusual

punishment.” Mata v. Saiz, 427 F.3d 745, 751 (10th Cir. 2005). The Tenth Circuit

recognizes two types of conduct amounting to deliberate indifference in the

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context of prisoner medical care. “First, a medical professional may fail to treat a

serious medical condition properly.” Sealock v. Colo., 218 F.3d 1205, 1211 (10th

Cir. 2000). When this type of conduct is alleged, “the medical professional has

available the defense that he was merely negligent in diagnosing or treating the

medical condition, rather than deliberately indifferent.” Id. (citing Estelle v.

Gamble, 429 U.S. 97, 105-06 (1976)). Second, prison officials may “prevent an

inmate from receiving treatment or deny him access to medical personnel capable

of evaluating the need for treatment.” Id. (citing Ramos v. Lamm, 639 F.2d 559,

575 (10th Cir. 1980)). Plaintiff relies on the first example, arguing Dr. Childs

failed to properly treat the injury Plaintiff suffered to his face.

      As previously noted, the deliberate indifference test has an objective and

subjective component. Mata, 427 F.3d at 751.               To satisfy the objective

component, “the alleged deprivation must be ‘sufficiently serious’ to constitute a

deprivation of constitutional dimension.” Self v. Crum, 439 F.3d 1227, 1230 (10th

Cir. 2006) (quoting Farmer v. Brennan, 511 U.S. 825, 834 (1994)). “A medical

need is sufficiently serious ‘if it is one that has been diagnosed by a physician as

mandating treatment or one that is so obvious that even a lay person would easily

recognize the necessity for a doctor’s attention.’” Sealock, 218 F.3d at 1209

(quoting Hunt v. Uphoff, 199 F.3d 1220, 1224 (10th Cir. 1999)). The question

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raised by the objective prong “is whether the alleged harm . . . is sufficiently

serious . . . , rather than whether the symptoms displayed to the prison employee

are sufficiently serious.” Mata, 427 F.3d at 753.

      To satisfy the subjective component, there must be evidence that “the

official ‘knows of and disregards an excessive risk to inmate health or safety; the

official must both be aware of facts from which the inference could be drawn that

a substantial risk of serious harm exists, and he must also draw the inference.’”

Mata, 427 F.3d at 751 (quoting Farmer, 511 U.S. at 837) (alteration omitted).

The subjective component may be satisfied if the jury can “infer that a prison

official had actual knowledge of the constitutionally infirm condition based solely

on circumstantial evidence, such as the obviousness of the condition.” Tafoya v.

Salazar, 516 F.3d 912, 916 (10th Cir. 2008) (citing Farmer, 511 U.S. at 842).

      Such inference cannot be drawn when an inmate voices a “mere[ ]

disagree[ment] with a diagnosis or a prescribed course of treatment,” Perkins v.

Kan. Dep’t of Corr., 165 F.3d 803, 811 (10th Cir. 1999), because the inmate has

a constitutional right only to medical care, but “not to the type or scope of medical

care which he personally desires.” Henderson v. Sec’y of Corr., 518 F.2d 694,

695 (10th Cir. 1975) (quoting Coppinger v. Townsend, 398 F.2d 392, 394 (10th

Cir. 1968)). Instead, the subjective component of this inquiry requires an inmate

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to provide evidence, whether direct or circumstantial, from which a jury could

reasonably infer the medical officials consciously disregarded an excessive risk

to the inmate’s health or safety. Self, 439 F.3d at 1235. The Eighth Amendment

protects inmates from the “infliction of punishment,” it does not give rise to

claims sounding in negligence or medical malpractice. Id. (quoting Farmer, 511

U.S. at 838); see also Mata, 427 F.3d at 758-59. Consequently, even if a prison

official’s actions fell below a reasonable standard of care, “‘the negligent failure

to provide adequate medical care, even one constituting medical malpractice, does

not give rise to a constitutional violation.’” Self, 439 F.3d at 1233 (quoting

Perkins, 165 F.3d at 811).

      Presuming without deciding that Plaintiff can satisfy the objective

component, Plaintiff has not presented sufficient factual allegations to support the

subjective component of his claim. Plaintiff does not allege Dr. Childs failed or

refused to provide medical care. Instead, he disagrees with Dr. Childs’ treatment

based on the fact that Dr. Childs’ attempt to twist the wires together resulted in

Plaintiff losing one of the screws in his mouth. Am. Comp. at 12-13. He also

complains that Dr. Childs treated him at all, stating that “Dr. Childs should have

originally sent me back to OU medical without trying to play a Doctor that does

surgery, when he’s only a jail physician.” Am. Comp. at 13. Significantly,

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however, Plaintiff is not entitled to a particular course of treatment. Callahan v.

Poppell, 471 F.3d 1155, 1160 (10th Cir. 2006); see also Dulany v. Carnahan, 132

F.3d 1234, 1240 (8th Cir. 1997) (“[A] prison doctor remains free to exercise his

or her independent professional judgment and an inmate is not entitled to any

particular course of treatment.”); Snipes v. DeTella, 95 F.3d 586, 591 (7th

Cir.1996) (“Medical decisions that may be characterized as ‘classic examples of

matters for medical judgment,’ such as whether one course of treatment is

preferable to another, are beyond the [Eighth] Amendment’s purview.” (quoting

Estelle, 429 U.S. at 107) (alterations omitted)).

      At worst, Dr. Childs may have committed malpractice, but the Eighth

Amendment does not redress such a claim. See Estelle, 429 U.S. at 107 (noting

medical malpractice that does not fall under the Eighth Amendment); see also

Dawson v. Lloyd, 642 F. App’x 883, 886 (10th Cir. 2016) (finding that “any

arguable mistake or negligence” in nurses’ administration of medication is

insufficient to meet the subjective prong of deliberate indifference); Tyler v.

Sullivan, No. 95-1232, 1996 WL 195295, *2 (10th Cir. April 22, 1996) (holding

that “[a] difference of opinion as to the kind and timing of medical treatment does

not rise to the level of an Eighth Amendment violation”); Gumm v. Fed. Bureau

of Prisons, No. CIV-06-866-R, 2007 WL 3312785, at *8 (W.D. Okla. Nov. 6,

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2007) (“Plaintiff’s claims concerning P.A. Mier’s ‘improper’ splint placement do

not show deliberate indifference [] because mere negligence in treating a medical

condition does not amount to a violation of the Eighth Amendment.”); Redding v.

Marsh, 750 F. Supp. 473, 478 (E.D. Okla. 1990) (holding that whether an

alternative method of treatment was preferable “is a question directed towards a

negligence claim” and not actionable under the Eighth Amendment).

      To succeed on an Eighth Amendment claim, as opposed to a medical

malpractice claim under state tort law, a plaintiff is required to identify “acts or

omissions sufficiently harmful to evidence deliberate indifference to serious

medical needs.” Estelle, 429 U.S. at 106. Because Plaintiff failed to show such

deliberate indifference, his claims based upon Dr. Childs’ medical treatment

should be dismissed.

      B.      Classification and Placement

      Plaintiff also asserts a deliberate indifference claim against Dr. Childs and

Armor based upon the booking nurses’ failure to place him in a particular pod

based on his medical status. Am. Comp. at 19-20. He alleges the nurses’ failure

to place him in a different pod resulted in him being housed with rival gang

members who subsequently assaulted Plaintiff. Id.

           (i). Dr. Childs

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      Personal participation in an alleged constitutional deprivation is a required

element of a 42 U.S.C. § 1983 action against an individual. See Fogarty v.

Gallegos, 523 F.3d 1147, 1162 (10th Cir. 2008) (“Individual liability under §1983

must be based on personal involvement in the alleged constitutional violation.”

(quotations omitted)). Plaintiff does not set forth any allegation that Dr. Childs

was involved in Plaintiff’s booking process. He does not allege Dr. Childs was

even aware of where Plaintiff was housed upon booking, much less was involved

in the decision-making process. Accordingly, the Court should dismiss this claim

against Dr. Childs.

         (ii). Armor

      Plaintiff’s claim as asserted against Armor should also be dismissed. As

previously noted, an Eighth Amendment claim of this nature requires both an

objective and subjective component. Mata, 427 F.3d at 751. Under the subjective

component, Plaintiff must sufficiently allege the booking nurses (1) knew Plaintiff

faced a substantial risk of serious harm and (2) disregarded that risk by failing to

take reasonable measures to abate it. Espinoza v. Brewster, No. CIV-16-55-F,

2016 WL 3749033, at *6 (W.D. Okla. April 5, 2016) (citing Farmer, 511 U.S. at

837). Plaintiff has not set forth any allegations allowing for an inference that the

booking nurses were aware Plaintiff faced a substantial risk of harm by rival gang

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members.      Accordingly, Plaintiff has not adequately asserted an Eighth

Amendment claim and it should be dismissed.

V. Harding and Irby

      Plaintiff asserts Eighth Amendment claims against Defendants Harding and

Irby based on alleged excessive force during his arrest. Am. Comp. at 13-14. In

describing the events of his arrest, Plaintiff states the following:

      Chris Harding approached Asheena Yarbough car with his gun
      drawn ordering me to place my hands on the dash, which I did. Chris
      Harding opened my door, and begun removing me from car. Once
      out of the car Chris Harding begun trying to take me to the police car
      without telling me why he was containing me. Chris Harding didn’t
      try to place hand cuffs on me. So I pulled away from him like what
      are you doing! Chris Harding and James Irby begun wrestling with
      me. Chris Harding then pushed me between both cars and yelled for
      James Irby to taser me causing me to drop to the ground and hit my
      head on ground repeatedly and left me laying on my stomach, not
      moving at all. Chris Harding ordered James to taser me again. After
      the second round of tasering, Chris Harding dropped to his knees
      then place me in a choke hold until Asheena started screaming!

Am. Comp. at 13.

      In determining whether a § 1983 claim is barred under Heck v. Humphrey,

512 U.S. 477 (1994), the court must consider the relationship between the § 1983

claim and the conviction, including asking whether the plaintiff could prevail only

by “negat[ing] an element of the offense of which he [was] convicted.” Id. at 486

n.6. In a recent case, the Tenth Circuit, quoting from DeLeon v. City of Corpus

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Christi, 488 F.3d 649 (5th Cir. 2007), explained that sometimes an “excessive-

force claim must be barred in its entirety because the theory of the claim is

inconsistent with the prior conviction.” Havens v. Johnson, 783 F.3d 776, 782

(10th Cir. 2015). In DeLeon, the court adopted the following reasoning from a

prior unpublished opinion:

      [The plaintiff’s] claims are not that the police used excessive force
      after he stopped resisting arrest or even that the officers used
      excessive and unreasonable force to stop his resistance. Instead,
      [he] claims that he did nothing wrong, but was viciously attacked
      for no reason. He provides no alternative pleading or theory of
      recovery . . . . [The plaintiff’s] claims are distinguishable from
      excessive force claims that survive Heck’s bar . . . . [The] suit
      squarely challenges the factual determination that underlies his
      conviction for resisting an officer. If [the plaintiff] prevails, he will
      have established that his criminal conviction lacks any basis.

DeLeon, 488 F.3d at 657 (citation omitted).

      Similarly, in Havens, the plaintiff pleaded guilty to attempted first-degree

assault of a defendant detective. Havens, 783 F.3d at 783. The court noted that

the plaintiff “pleaded guilty to intentionally taking a substantial step toward

causing serious bodily injury” to the detective by gunning the engine of his car

“in an effort to get away” while the detective was in front of his car. Id. The court

found the plaintiff’s plea incompatible with his § 1983 claim because his

complaint did not allege that the defendant used excessive force in response to an

attempted assault by the plaintiff. Id. Instead, the plaintiff contended that the
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detective’s use of force was unreasonable because the plaintiff “did not have

control of the car, he did not try to escape, he never saw [the detective], he did not

drive toward [the detective], and he was hit by police vehicles and shot almost

instantly after arriving on the scene.” Id. The court stated, “This case is like

DeLeon,” and determined that the plaintiff’s contention that “he did nothing

wrong and did not intend or attempt to injure [the defendant] . . . could not sustain

the elements of attempted first-degree assault under Colorado law and the factual

basis for [the plaintiff’s] plea.” Id.

       Here, Plaintiff was charged with two counts of Assault & Battery Upon a

Police or Other Law Officer under Okla. Stat. tit. 21, §§ 646, 649-649.2, 650.4

Additionally, Plaintiff pleaded nolo contendere to each charge and was sentenced

accordingly. Id. Pursuant to the Oklahoma statutes under which Plaintiff was

charged, Plaintiff, “without justifiable or excusable cause,” inflicted great bodily

injury upon each officer that included “bone fracture, protracted and obvious

disfigurement, protracted loss or impairment of the function of a body part, organ

or mental faculty, or substantial risk of death.” Okla. Stat. tit. 21, §§646, 649,

650.



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      Plaintiff asserts that Officer Irby tasered him when Plaintiff was already

laying on the ground and Officer Harding subsequently held him in a choke-hold,

choking him until a third party present at the scene started screaming. See supra.

However, just as in Havens, Plaintiff does not allege Defendants used excessive

force in response to an assault by the plaintiff. Am. Comp. at 13. According to

Plaintiff, his only action was to pull away from Harding. Id. Plaintiff merely

pulling away from Harding would not sustain the elements of assault under

Oklahoma law and the factual basis for Plaintiff’s plea of nolo contendere. Okla.

Stat. tit. 21, §§ 646, 649, 650; see Havens, 783 F.3d at 784. Therefore, Plaintiff’s

excessive force claim against Defendants Irby and Harding should be dismissed.

See Fottler v. United States, 73 F.3d 1064, 1065 (10th Cir. 1996) (citing cases).

VI. Official Capacity Claims

       Plaintiff asserts claims against the individual Defendants in their official

and individual capacities. Am. Comp. at 7-9. Claims against an official in his

official capacity are essentially claims against the entity that the official

represents. Porro v. Barnes, 624 F.3d 1322, 1328 (10th Cir. 2010). Here, the

individual Defendants arguably represent the City of Bethany and Oklahoma

County.    A municipality or county cannot be held responsible for the

unconstitutional acts of its officers absent some wrongful action by the

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municipality or county. To state a claim under § 1983 against a municipality or

county, a plaintiff must show “(1) a municipal [or county] employee committed a

constitutional violation, and (2) a municipal [or county] policy or custom was the

moving force behind the constitutional deprivation.” Cordova v. Aragon, 569

F.3d 1183, 1193 (10th Cir. 2009) (quotations omitted).

      In the present case, the Court has already concluded Plaintiff has failed to

sufficiently allege a viable constitutional claim against Sheriff Whetsel, Dr.

Childs, Officer Harding, and Officer Irby. Moreover, Plaintiff does not identify

any policy or custom motivating Defendants’ allegedly unlawful actions.

Therefore, Plaintiffs’ official capacity claims against these Defendants should be

dismissed.



                            RECOMMENDATION

      Based on the foregoing findings, it is recommended that Plaintiff’s claims

against Defendants Sheriff John Whetsel, James Irby, Chris Harding, Jerry Childs,

D.O., and Armor be dismissed WITHOUT PREJUDICE pursuant to 28 U.S.C.

§§1915A(b), 1915(e)(2)(B) for failure to state a claim upon which relief may be

granted. In light of this recommendation, the undersigned also recommends the

Motion to Dismiss Second Amended Complaint by Defendant John Whetsel in

                                           20
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his Individual Capacity with Brief in Support (Doc. #88) be denied as moot.

      Plaintiff is advised of the right to file an objection to this Supplemental

Report and Recommendation with the Clerk of this Court by        June 4th , 2018,

in accordance with 28 U.S.C. § 636 and Fed. R. Civ. P. 72. The failure to timely

object to this Supplemental Report and Recommendation would waive appellate

review of the recommended ruling. Moore v. United States, 950 F.2d 656 (10th

Cir. 1991); cf. Marshall v. Chater, 75 F.3d 1421, 1426 (10th Cir. 1996) (“Issues

raised for the first time in objections to the magistrate judge’s recommendation

are deemed waived.”).

      This Supplemental Report and Recommendation does not dispose of all

issues referred to the undersigned Magistrate Judge in the captioned matter.

      Dated this   15th day of May, 2018.




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